64 F.3d 659
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Cornelius TUCKER, Jr., Plaintiff--Appellant,v.Sergeant FOX;  Dee Harris;  James Taylor, AssistantSuperintendent;  Warden Dixon;  Lynn C. Phillips;  FranklinE. Freeman, Jr.;  Doctor Baloch;  Nurse O'Neal;  LieutenantWilkinson;  Lieutenant Moody;  Mail Clerk Jones;  Mr. Davis;Finese Couch;  Mr. Turrell;  Mr. Debnar;  J.L. Miller;Governor Hunt;  Lieutenant Walker, Defendants--Appellees.
    No. 95-6875.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 25, 1995.Decided:  August 15, 1995.
    
      Cornelius Tucker, Jr., appellant pro se.
      Before WILKINS, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order dismissing his 42 U.S.C. Sec. 1983 (1988) complaint.  The district court assessed a filing fee in accordance with Evans v. Croom, 650 F.2d 521 (4th Cir.1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Appellant failed to comply with the fee order.  Finding no abuse of discretion, we affirm the district court's order.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    